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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


DR. JEROME CORSI et al,

                                 Plaintiffs,
 v.                                             Civil Action No. 19-cv-1573-TJK
MICHAEL CAPUTO et al,

                                 Defendants.




      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
  DEFENDANT MICHAEL CAPUTO’S MOTION TO DISMISS THE COMPLAINT
  PURSUANT TO RULE 12(b)(2) FOR LACK OF PERSONAL JURISDICTION AND
            RULE 12(b)(6) FOR FAILURE TO STATE A CLAIM


Dated: June 6, 2019

       Respectfully submitted,



                                                /s/ Stephen C. Leckar
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                                            Preliminary Statement

         On April 8, 2019, Plaintiffs Dr. Jerome Corsi and Larry Klayman, Esq. filed the subject

Complaint alleging that Defendants Michael Caputo and Roger Stone defamed Plaintiffs. Pursuant

to Federal Rules of Civil Procedure 12(b)(2) and12(b)(6), Mr. Caputo moves to dismiss the

Complaint. As detailed below, this Court lacks personal jurisdiction over Mr. Caputo, a resident

of New York State, who neither committed a tortious act in this District (see § 13-423(a)(3)), nor

conducts substantial business in this District, engages in persistent conduct in this District, or

derives substantial revenue from services rendered in this District (see § 13-423(a)(4)). Moreover,

Plaintiffs have failed to state a claim upon which relief can be granted. Accordingly, Mr. Caputo

respectfully submits that this Court must dismiss the Complaint in its entirety.



                                                    Argument

    I.       This Court lacks personal jurisdiction over Mr. Caputo.

         Plaintiffs fail to state with specificity the grounds that establish this Court’s personal

jurisdiction over Mr. Caputo in violation of Rule 8(a)(1) [General Rule of Pleading], which

requires “a short and plain statement of the grounds for the court’s jurisdiction….” Consequently,

Mr. Caputo is left to assume that Plaintiffs are relying upon the District of Columbia Long-Arm

Statute, § 13-423 [Personal jurisdiction based upon conduct], and the two provisions that authorize

personal jurisdiction in torts claims, namely, subsections (a)(3) and (a)(4). 1 Indeed, Plaintiffs

concede that Mr. Caputo “is a citizen of New York” State. Complaint, ¶3.



1
  Conceivably, Plaintiffs may argue in favor of personal jurisdiction under subsection (a)(1) – “transacting any
business in the District of Columbia.” But this Court should decline to construe subsection (a)(l)'s "transacting
business" provision to authorize personal jurisdiction in tort cases where it would not otherwise be authorized by
the tort provisions in subsections (a)(3) and (a)(4). Alkanani v. Aegis Def Servs., LLC, 976 F. Supp. 2d 13, 27 (D.D.C.
2014).
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       District of Columbia Long-Arm Statute, § 13-423(a)(3) and (a)(4) provide:

       A District of Columbia court may exercise personal jurisdiction over a person, who
       acts directly or by an agent, as to a claim for relief arising from the person’s – (3)
       causing tortious injury in the District of Columbia by an act or omission in the
       District of Columbia; [or] (4) causing tortious injury in the District of Columbia by
       an act or omission outside the District of Columbia if he regularly does or solicits
       business, engages in any other persistent course of conduct, or derives substantial
       revenue from … services rendered, in the District of Columbia ….

       To establish long-arm jurisdiction here, Plaintiffs must show that it is both

authorized by § 13-423 and consistent with due process. E.g., Holder v. Haarmann &

Reimer Corp., 779 A.2d 264, 269 (D.C. 2001). Plaintiffs cannot make either showing.

   a. Mr. Caputo did not commit a tortious act in the District under § 13-423(a)(3).

       Plaintiffs are attempting to advance a theory that this Court has jurisdiction over the alleged

tortious act because the MSNBC news segment aired in this District. See Complaint, ¶37

(“Defendant Caputo published malicious, false, misleading and defamatory statements of and

concerning Plaintiffs … in this judicial district…”)(emphasis added); see also Complaint, ¶43

(“These false, misleading and defamatory statements were published on television and on the

internet and published and republished elsewhere in this district…”)(emphasis added). But this

attempt to establish personal jurisdiction must fail because the alleged act did not occur in this

district, but rather occurred in New York State. Indeed, Plaintiffs’ specific allegation against Mr.

Caputo is that “[o]n or about March 29, 2019, Defendant Caputo appeared on MSNBC with host

Ari Melber, where Mr. Caputo made several false, misleading and defamatory statements in this

district, nationally and internationally regarding Plaintiffs (the ‘MSNBC Video’).” Complaint,

¶30. However, Melber’s broadcast is undisputedly produced in Manhattan, and when Mr. Caputo

appeared on Melber’s broadcast on March 29, 2019, he was in Manhattan, not this District. See

Exhibit 1, Affidavit of Michael Caputo, ¶14.
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        In Moncrief v. Lexington Herald-Leader Co., 807 F.2d 217 (D.C.Cir. 1986), where the

defendant in Kentucky published and mailed a newspaper that allegedly defamed the plaintiff in

the District, the D.C. Circuit Court found no basis for jurisdiction under subsection (a)(3).

Similarly, in McFarlane v. Esquire Magazine, 74 F.3d 1296 (D.C.Cir. 1996), the same Court found

no basis for jurisdiction under subsection (a)(3) where the defendant who authored the allegedly

defamatory statements did so in New York, not the District. Id. at 1300. In both cases, the D.C.

Circuit Court rejected plaintiffs’ argument that jurisdiction is established when the injury is in the

District, noting that subsection (a)(3) makes a “careful distinction between ‘injury’ and ‘act.’” Id.

(citing Moncrief, 807 F.2d at 220-21).

        Here, as in Moncrief and McFarlane, the allegedly defamatory statements were not made

in the District, but rather outside the District in the State of New York. And as the D.C. Circuit

Court established in Moncrief and McFarlane, Plaintiffs cannot simply allege injury in the District

in an effort to establish personal jurisdiction over Mr. Caputo via § 13-423(a)(3). See also Forras

v. Rauf, 812 F.3d 1102, 1107 (D.C. Cir. 2016)(“[P]ublishing defamatory or otherwise tortious

statements within the District that were made outside the District falls short of what subsection

(a)(3) requires.”) Therefore, this Court does not have personal jurisdiction over Mr. Caputo under

subsection (a)(3).

    b. Mr. Caputo does not have sufficient contacts to the District under § 13-423(a)(4).

        Plaintiffs cannot establish personal jurisdiction under § 13-423(a)(4) either. In addition to

the alleged injury, subsection (a)(4) requires Plaintiffs to demonstrate sufficient contacts to the

District, including activities of a “continuous nature.” Parsons v. Mains, 580 A.2d 1329, 1330

(D.C. 1990). The Complaint fails to do so because Mr. Caputo does not have sufficient, continuous

contacts to the District.
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       The D.C. Court of Appeals' decision in Parsons illustrates the ongoing, substantial

nature of the contacts necessary to satisfy subsection (a)(4). The plaintiff there sued for

breach of contract and conversion. Id. at 1329. The plaintiff asserted personal jurisdiction

over the defendant, a Virginia attorney, based on subsection (a)(4). Id. The defendant

attorney had previously entered appearances, as counsel, in three cases in the District. Id.

at 1330. Two of the prior cases in which defendant had appeared were pending at the time

of the plaintiff’s suit. Id. Moreover, in at least two of those cases, the defendant was lead

counsel. Id. The Court in Parsons nonetheless held that the defendant's contacts did not

satisfy subsection (a)(4). Id. Although the defendant attorney in that case had made

appearances in multiple cases in the District, his contacts fell short of the "continuous

and persistent course of business" that subsection (a)(4) requires. Id.

       Mr. Caputo has even fewer connections to the District than Parsons did. Indeed, the

allegations within the Complaint are replete with conclusory, tenuous, and sometimes misleading

attempts to connect Mr. Caputo to D.C. For instance, in Paragraph 5, Plaintiffs allege that Mr.

Caputo “has worked on numerous presidential and other political campaigns in the District of

Columbia,” but fails to give any specifics, including whether Mr. Caputo was present in the District

while working on those campaigns. In similar fashion, paragraph 6 alleges that Mr. Caputo

“worked with Presidents Ronald Regan [sic] and George H.W. Bush,” but fails to provide any

specific dates or times when Mr. Caputo actually worked in D.C, erroneously assuming that any

connection to a former President is sufficient. See Walden v. Fiore, 571 U.S. 277, 285 (2014)

(Jurisdictional analysis “looks to the defendant’s contacts with the forum … itself, not the

defendant’s contacts with persons who reside there.”). Indeed, while working on the Reagan

Campaign, Mr. Caputo was in New York State. Exhibit 1, ¶11. In paragraph 7, Plaintiffs allege
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that “[m]ost recently, Defendant Caputo served as an advisor to President Donald Trump during

the 2016 presidential election,” but omits that Mr. Caputo did so in his capacity as

Communications Director for President Trump’s 2016 New York State Campaign, working mostly

from Trump Tower in Manhattan and from his home near Buffalo, New York. Exhibit 1, ¶12.

Notably, Mr. Caputo left the Campaign in June 2016. Id, ¶13. And in paragraph 10, Plaintiffs

allege that Mr. Caputo “does substantial business in the District of Columbia and derives a

significant portion of his income from the District of Columbia,” a false statement in every respect.

Id., ¶5-7. Throughout the Complaint, Plaintiffs attempt to advance a conclusory theory that Mr.

Caputo “is working in concert with, and at the direction of” Mr. Stone (see Complaint, ¶30), a

political consultant “centered around” the District (see Complaint, ¶15), with no factual basis to

support such a claim. Nonetheless, no interpretation of subsection (a)(4) allows for personal

jurisdiction based upon Mr. Caputo’s friendship with Mr. Stone (see Complaint ¶11), a Florida

resident who sometimes works in the District. Accordingly, Plaintiffs fail to establish jurisdiction

under subsection (a)(4) as well.

        Notably, this is not Mr. Klayman’s first time filing a defamation suit in which the defendant

has a tenuous connection to the District. In Forras v. Rauf, 812 F.3d 1102 (D.C. Cir. 2016),2

another case in which Mr. Klayman was a plaintiff, Mr. Klayman and his previous co-plaintiff

brought a defamation action against a New York resident whose statement was published in the

New York Times. In affirming the District Court’s dismissal, Circuit Judge Millett wrote, “[t]he

statute [§ 13-423(a)(4)] requires both an injury inside the District, and that ‘the defendant engages

in some persistent course of conduct or derives substantial revenue from the District.’” Forras,



2
 Klayman first filed that action in the Superior Court, Vincent Forras & Larry Klayman v. Iman Feisal Abdul Rauf &
Adam Leitman Bailey, Civil Action No. 0008122-11 (Hon. Todd E. Edelman, J.), but voluntarily dismissed the action
and re-filed in Federal District Court. Forras, 812 F.3d at 1104.
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812 F.3d at 1107-08 (citing Moncrief, 807 F.2d at 221). The Circuit Court found that “a

publication that is circulated throughout the nation, including the District, hardly constitutes doing

or soliciting business, or engaging in a persistent course of conduct, within the District.” Id.

        Nearly identical circumstances occur in this case. Plaintiffs’ attempt to connect Mr. Caputo

to the District because he often appears on nationally syndicated broadcasts is feeble. Mr. Caputo

does not regularly do business in the District, nor does he engage in a persistent course of conduct

in the District. Therefore, this Court lacks personal jurisdiction over Mr. Caputo under subsection

(a)(4) as well.

    c. Due Process forbids the exercise of personal jurisdiction over Mr. Caputo.

        Exercising personal jurisdiction over Mr. Caputo based upon his limited contacts with the

District would violate due process because it would not comport with “traditional notions of fair

play and substantial justice.” International Shoe Co. v. Washington, 326 U.S. 310, 317 (1945).

Indeed, Plaintiffs’ attempts to tie Mr. Caputo to the District in Paragraphs 5 through 10 of the

Complaint are premised on weak and untargeted connections. See Shirlington Limousine &

Transp., Inc. v. San Diego Union-Tribune, 566 F. Supp. 2d 1, 5 (D.D.C. 2008) (“mere operation

of an Internet site does not alone subject a defendant to jurisdiction in all fora in which content can

be accessed, and plaintiffs must support jurisdictional arguments with more than vague

assertions.”).

        In opposition to this motion, Plaintiffs are likely to invoke Blumenthal v.

Drudge, 992 F. Supp. 44 (D.D.C. 1998). However, personal jurisdiction in this case is

not supported by the federal district court's decision in that case, which involved a

statement published on the Internet by defendant Matt Drudge. Id. at 46. As the D.C.

Court of Appeals explained, the federal district court in Drudge "did not rest its decision
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solely on the fact that the defamatory story [on the internet] was available to or directed

at District of Columbia residents. Instead, it concentrated on the additional multiple and

persistent contacts between the defendant and the forum." Charlton v. Mand, 987 A.2d

436, 439 (D.C. 2010). The D.C. Court of Appeals explained:

       Drudge's continuous and persistent contacts with District residents were
       proven by: (1) the interactivity of the web site between the defendant
       Drudge and District residents; (2) the regular distribution of the Drudge
       Report via AOL, e-mail and the world wide web to District residents; (3)
       Drudge's solicitation and receipt of contributions from District residents;
       (4) the availability of the web site to District residents 24 hours a day; (5)
       defendant Drudge's interview with C-SPAN [inside the District]; and (6)
       defendant Drudge's contacts with District residents who provide gossip for
       the Drudge Report.

Id. at 439 n.12. Plaintiffs do not and cannot allege any comparable "continuous and

persistent contacts" here.

      Similarly, personal jurisdiction is not supported by Calder v. Jones, 465 U.S. 783

(1984), in which the Supreme Court concluded that the defendants’ intentional and

allegedly tortious actions were expressly aimed at the state in which in the Complaint

was filed. Id. at 789. The Court in Calder stated, “[defendants] knew that the brunt of

the injury would be felt by respondent in the State in which she lives and works …” Id.

at 790. Here, there is zero evidence that Mr. Caputo targeted the District specifically,

despite Plaintiffs’ conclusory attempt to connect Mr. Caputo’s statements to Mr. Stone’s

potential jury pool. See Complaint, ¶24, 28.

      Consequently, Plaintiffs have failed to show that personal jurisdiction over Mr.

Caputo is consistent with due process, and therefore, the Complaint must be dismissed.
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   II.      Plaintiffs fail to state a claim upon which relief can be granted.

         "[T]he Supreme Court has directed courts to expeditiously weed out unmeritorious

defamation suits." Kahl v. Bureau of Nat'l Affairs, Inc., 856 F.3d 106, 109 (D.C. Cir.

2017). Doing so "not only protects against the costs of meritless litigation, but provides

assurance to those exercising their First Amendment rights that doing so will not

needlessly become prohibitively expensive." Fairbanks v. Roller, 314 F. Supp. 3d 85, 89

(D.D.C. 2018).

         In screening defamation claims under Superior Court Rule 12(b)(6), the Court

must "accept the allegations of the complaint as true, and construe all facts and inferences

in favor of the plaintiff." Solers, Inc. v. Doe, 977 A.2d 941, 947 (D.C. 2009). But the

Court must ignore "pleadings that, because they are no more than conclusions, are not

entitled to the assumption of truth." Potomac Dev. Corp. v. District of Columbia, 28 A.3d

531, 544 (D.C. 2011) (internal quotation marks omitted). The remaining allegations of

the complaint “must contain sufficient factual matter, accepted as true, to ‘state a claim

to relief that is plausible on its face.’ Where a complaint pleads facts that are ‘merely

consistent with’ a defendant's liability, it ‘stops short of the line between possibility

and plausibility of 'entitlement to relief."' Id. (quoting Ashcroft v. Iqbal, 556 U.S. 662

(2009), and Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007)).

         Under District of Columbia law, a defamation claim requires: (1) a false and defamatory

statement; (2) published without privilege to a third party; (3) made with the requisite fault; and

(4) damages. Beeton v. District of Columbia, 779 A.2d 918, 923 (D.C. 2001). The First

Amendment requires "public figures" to bear heightened burdens in pleading and proving falsity

and fault. Liberty Lobby, Inc. v. Dow Jones & Co., Inc., 838 F.2d 1287, 1292 (D.C. Cir. 1988).
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Public figures must plead and prove falsity "by at least a fair preponderance of the evidence," with

close cases decided against them. Id. In addition, public figures must plead and be able to prove

by clear and convincing evidence that the defendant's fault constituted "actual malice." Id. "Actual

malice" means that the defendant made the alleged defamatory statement "with knowledge that it

was false or with reckless disregard of whether it was false or not." N. Y. Times v. Sullivan, 376

U.S. 254, 280 (1964). Reckless disregard, in turn, requires a "high degree of awareness of ...

probable falsity." Garrison v. Louisiana, 379 U.S. 64, 74 (1964).

       Plaintiffs must meet the heightened burdens of pleading and proving falsity and

fault because they are public figures. Public figures are people who "have assumed roles

of special prominence in the affairs of society." Gertz v. Robert Welch, Inc., 418 U.S. 323,

342 (1974)(“Those who, by reason of the notoriety of their achievements or the vigor and

success with which they seek the public’s attention, are properly classified as public

figures…). If “an individual voluntarily injects himself or is drawn into a particular public

controversy[, he] thereby becomes a public figure….” Abbas v. Foreign Policy Group,

LLC, 975 F.Supp.2d 1, 7 (D.D.C. 2013)(quoting Gertz, 418 U.S. at 351). In 2014, a

federal district held that Mr. Klayman was a public figure "[b]ecause of [his] notoriety

and high-profile work in the public realm…" Klayman v. Judicial Watch, Inc., 22 F. Supp.

3d 1240 (S.D. Fla. 2014); accord Klayman v. Judicial Watch, Inc., 628 F. Supp. 2d 112,

153 (D.D.C. 2009). Mr. Klayman’s self-description in the current case implies that he

retains that status. Complaint, ¶2 (“Plaintiff Larry Klayman is an attorney and public

interest advocate, author, columnist, syndicated radio talk show host (‘Special Prosecutor

with Larry Klayman’ on Radio America) and private attorney who practices and writes

and broadcasts in this district and nationally). Similarly, the Complaint establishes that
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Plaintiff Corsi is also a public figure (Complaint, ¶1 (“Plaintiff Dr. Jerome Corsi is an

author and political commentator who publishes works in this judicial district and

nationwide.”); Complaint, ¶34 (“well-known conservative figures [sic]”)) who was the topic

of conversation on a nationally syndicated television show on March 29, 2019. See Braden

v. News World Commc'ns, Inc., No. CA-10689'89, 1991 WL 161497, at *1 (D.C. Super. Ct. Mar.

1, 1991) (Court labels cable news political commentator a public figure). He was the topic of

conversation on a nationally syndicated television show because Mr. Corsi has voluntarily injected

himself into the media throughout the time period of the Mueller Investigation. 3

       Plaintiffs cannot meet their heightened burden with the two specific defamatory

statements alleged (previously omitted language now included in bold):

           1. “[T]he Mueller team finds themselves at the end of the hallway …
              and they’re staring at Jerry Corsi, who believes the most wild
              conspiracies in the world, Roger Stone, and Randy Credico who
              wears women’s underwear … and they end at the freak show tent.”
              Complaint, ¶31.

           2. “[H]e could be the luckiest man in the world. I think he should buy
              a lottery ticket or ten. I’m surprised. I also believe that it indicates
              that Corsi gave them information that they were looking for, probably
              on Roger Stone. We’ll probably see him brought in as a witness in
              Roger Stone’s trial. Complaint, ¶32.

   a. Mr. Caputo’s first comment was not defamatory because it was rhetorical hyperbole.

       “[I]f it is plain that a speaker is expressing a subjective view, an interpretation, a theory,

conjecture, or surmise, rather than claiming to be in possession of objectively verifiable facts, the

statement is not actionable.” Guilford Transp. Indus. v. Wilner, 760 A.2d 580, 597 (D.C. 2000).




               3
                   See e.g. https://www.youtube.com/watch?time_continue=246&v=lxktpvl5fjY
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       Moreover,

       the First Amendment provides protection for “statements that cannot ‘reasonably [be]
       interpreted as stating actual facts about an individual.” Milkovich [v. Lorain Journal
       Co., 497 U.S. 1, 20, 110 S.Ct. 2695 (1990)] (quoting Hustler Magazine v.
       Falwell, 485 U.S. 46, 50, 108 S.Ct. 876, 99 L.Ed.2d 41 (1988)). In deciding whether
       a reasonable factfinder could conclude that a statement expressed or implied a
       verifiably false fact about appellant, the court must consider the statement in
       context. Moldea [v. New York Times Co.,] II, 22 F.3d [310] at 313–15 [(D.C.Cir.
       1994)]. “This provides assurance that public debate will not suffer for lack of
       ‘imaginative expression’ or the ‘rhetorical hyperbole’ which has traditionally added
       much to the discourse of our Nation.” Milkovich, 497 U.S. at 20, 110 S.Ct. 2695
       (quoting Hustler Magazine, 485 U.S. at 53–55, 108 S.Ct. 876).

Weyrich v. New Republic, Inc., 235 F.3d 617, 624 (D.C. Cir. 2001).

       Mr. Caputo’s first statement is pure conjecture, surmise, and rhetorical hyperbole. Indeed,

the statement was made in conjunction with Mr. Caputo’s comment about Randy Credico wearing

women’s underwear during a political exchange, and no reasonable factfinder could interpret this

as stating an actual fact. In Greenbelt Cooperative Publishing Assn., Inc. v. Bresleer, 398 U.S. 6,

90 (1970), the Supreme Court held that a local news reporter’s characterization of a real estate

agents negotiations during heated public meetings as “blackmail” was not defamatory because

“even the most careless reader must have perceived that the word was no more than rhetorical

hyperbole….” See also Letter Carriers v. Austin, 418 U.S. 264, 284-86 (1974)(use of the word

“traitor” in literary definition of a union “scab” not basis for a defamation action under federal

labor law since used “in a loose, figurative sense” and was “merely rhetorical hybperbole, a lusty

and imaginative expression of the contempt felt by union members”). Here, even the most

careless viewer could not have believed that Mr. Corsi was part of an actual freak show alongside

Mr. Stone and Randy Credico wearing women’s underwear. Mr. Caputo’s comment is the exact

“imaginative expression” and “rhetorical hyperbole” contemplated by the Supreme Court several

times over.
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        b. Mr. Caputo’s second comment was likely an accurate opinion.

        A public figure plaintiff must show the falsity of the statements at issue in order to prevail

in a suit for defamation. Philadelphia Newspapers, Inc. v. Hepps, 475 U.S. 767, 775 (1986). Here,

Plaintiffs cannot demonstrate that the second statement is false, or that Mr. Caputo made the

statement with knowledge that it was false or with reckless disregard of whether it was false or

not. Indeed, it is common knowledge that Government officials interviewed Mr. Corsi as part of

the Mueller Investigation, in part because he discussed his interviews on MSNBC on or about

January 23, 2019. 4 During his MSNBC interview, Mr. Corsi stated that Government officials

primarily asked him about Roger Stone. 5 Given the facts that Government officials interviewed

Mr. Corsi, Government officials primarily asked Mr. Corsi about Roger Stone, Mr. Corsi testified

in Mueller’s grand jury, 6 and Mr. Corsi appeared as Person 1 in Roger Stone’s Indictment

(Complaint, ¶26), it is indeed probable that Mr. Corsi will be a witness in Mr. Stone’s upcoming

trial. Stated differently, Mr. Caputo’s comment is likely accurate.

        Moreover, as evidenced by Mr. Caputo’s use of “I believe” and “probably,” Mr. Caputo

was clearly stating an opinion. Importantly, “a statement of opinion relating to matters of public

concern which does not contain a provably false factual connotation will receive full constitutional

protection.” Milkovich, 497 U.S. at 20, 110 S.Ct. 2695 (Hepps, 475 U.S. 767 (1986)); see also

Moldea v. New York Times Co., 15 F.3d 1137, 1145 (D.C.Cir. 1994)(Such statements are not

actionable in defamation “[b]ecause the reader understands that such supported opinions represent

the writer’s interpretation of the facts presented, and because the reader is free to draw his or her

own conclusions based upon those facts.”). In this particular high-profile matter, namely, the


4
  https://www.youtube.com/watch?time_continue=246&v=lxktpvl5fjY. Beginning at 4:54, Mr. Corsi directly states
that he spoke to the FBI and Mueller Prosecutors.
5
  Id. at approximately 9:00.
6
  Id. at 5:11.
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Mueller Investigation, Mr. Caputo is entitled to his likely accurate opinion under the First

Amendment.

       Lastly, to be defamatory, a statement "must be more than unpleasant or offensive; the

language must make the plaintiff appear 'odious, infamous, or ridiculous."' Coles, 881 F. Supp. at

33 (quoting Fleming v. AT&T Information Servs., Inc., 878 F.2d 1472, 1475-76 (D.C. Cir. 1989)).

Here, Plaintiffs’ allegation is that as a result of Mr. Caputo’s statement, Mr. Caputo has “create[d]

the false implication that Plaintiffs are not true conservatives and supporters of President Trump

….” Complaint, ¶35; see also ¶48. Mr. Caputo’s comment in no way makes Mr. Corsi appear

“odious, infamous, or ridiculous.”

       Indeed, Plaintiffs cannot demonstrate by clear and convincing evidence that Mr. Caputo

made the two alleged comments with actual malice. Therefore, Plaintiffs fail to state a claim upon

which relief can be granted.

                                            Conclusion

       Pursuant to Fed. R. Civ. P. 12(b)(2) and12(b)(6), Defendant Michael Caputo respectfully

request that this Court dismiss the Complaint in its entirety.


Dated: June 6, 2019
       Buffalo, New York
                                                      Oral Hearing Requested.


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                               CERTIFICATE OF SERVICE

I hereby certify that on June 6, 2019, I electronically filed the foregoing with the Clerk of Court
using CM/ECF. I also certify that the foregoing document is being served on this day on all
counsel of record or pro se parties identified on the attached service list in the manner specified,
either via transmission of Notices of Electronic Filing generated by CM/ECF or in some other
authorized manner for those counsel or parties who are not authorized to receive electronically
Notice of Electronic filing.

                                                             Respectfully submitted,

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